                   IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF OHIO
                             EASTERN DIVISION


SUNIL NAYYAR,

            Plaintiff,


      v.                                   Case No. 2:12-CV-189
                                           JUDGE MARBLEY
                                           MAGISTRATE JUDGE KING
MT. CARMEL HEALTH SYSTEM, et al.,

            Defendants.



                              OPINION AND ORDER

      This matter is before the Court for consideration of the

plaintiff’s Motion for Sanctions, Doc. No. 50.      For the reasons that

follow, the motion is denied.

      Plaintiff, Dr. Sunil Nayyar [“plaintiff”], commenced this action

following the termination of his medical residency with defendant Mt.

Carmel Health System [“MCHS”].1     Plaintiff’s claims of employment

discrimination failed to survive summary judgment.       See Opinion and

Order, Doc. No. 74.      There remains, however, one outstanding motion in

connection with discovery in this case.      Motion for Sanctions. The

Court now considers the merits of that motion.

      Plaintiff seeks his costs and fees incurred in connection with

MCHS’s alleged failure to fully respond to plaintiff’s First Set of

Interrogatories and Requests for Production of Documents.       Motion for

Sanctions, pp. 3-4.      Plaintiff first served these discovery requests


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 In addition to MCHS, two of plaintiff’s former supervisors were also named as
defendants to the action.

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on August 18, 2012.    MCHS’s responses apparently consisted entirely of

objections. See Exhibit 4 attached to Motion for Sanctions.        Counsel

for the parties conferred on the matter, but plaintiff eventually

filed a motion to compel substantive responses to the discovery

requests.    Motion to Compel, Doc. No. 31.    That motion was granted as

unopposed and MCHS was ordered to provide substantive response to

plaintiff’s discovery requests.     Order, Doc. No. 35.    After a number

of requests for additional time, MCHS made substantive response to

plaintiff’s discovery requests on March 27, 2013.       See Exhibit 12,

attached to Motion for Sanctions.     The Motion for Sanctions - which

was filed on April 24, 2013 and after the motion for summary judgment

and plaintiff’s response to that motion had been filed - characterizes

those responses as deficient and inadequate.      However, plaintiff

offers no evidence that his dissatisfaction with those responses was

ever communicated to MCHS prior to the filing of the Motion for

Sanctions.

      Plaintiff seeks an award of costs and attorney’s fees pursuant to

Rules 37(a)(5)(A), 37(b)(2)(C) and 37(d)(3) in connection with MCHS’s

initial failure to provide substantive response to his discovery

request and MCHS’s later, allegedly insufficient, substantive

responses. Motion for Sanctions, p. 8.2

      MCHS contends that sanctions are not warranted because

plaintiff’s discovery motions were filed prematurely and because there

has been no violation of a court order.      MCHS also complains that

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 Plaintiff also seeks default judgment, under Rule 37(b)(2)(A)(vi), for the
alleged failure to provide substantive discovery responses. In light of the
grant of summary judgment to defendants, the request for default judgment is
now moot.

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plaintiff failed to exhaust all extrajudicial means of resolving any

discovery dispute, as is required by Fed. R. Civ. P. 37(a)(1) and

37(d)(1)(B). MCHS specifically complains that plaintiff failed to even

articulate his dissatisfaction with its substantive discovery

responses prior to filing the Motion for Sanctions.       Memorandum

contra, Doc. No. 54.

     Rule 37 authorizes a motion to compel discovery when a party

fails to provide proper response to an interrogatory under Rule 33 or

to a request for production of documents under Rule 34.       Moreover, “an

evasive or incomplete disclosure, answer, or response must be treated

as a failure to disclose, answer, or respond.”       Fed. R. Civ. P.

37(a)(4).   However, the party moving to compel discovery must certify

that it has “in good faith conferred or attempted to confer with the

person or party failing to make disclosure or discovery in an effort

to obtain it without court action.”       Fed. R. Civ. P. 37(a)(1).

     As noted supra, plaintiff has not certified that he fully

exhausted all extra-judicial means of resolving any dispute arising

out of MCHS’s March 27, 2013 substantive responses to plaintiff’s

discovery requests. As it relates to those responses, then, the Motion

for Sanctions is without merit.

     Plaintiff also seeks an award of sanctions in connection with the

grant of his earlier Motion to Compel.       An award of a movant’s

reasonable expenses, including attorney’s fees, is ordinarily

justified if a motion to compel discovery is granted.       Fed. R. Civ. P.

37(a)(5)(A).   However, an award of expenses is not appropriate if,

inter alia, the opposing party’s nondisclosure was substantially


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justified or if other circumstances make an award of expenses unjust.

Id.   The Court is vested with wide discretion in determining an

appropriate sanction under Rule 37.       Nat’l Hockey League v. Metro.

Hockey Club, 427 U.S. 639 (1976); Reg’l Refuse Sys. v. Inland

Reclamation Co., 842 F.2d 150, 154 (6th Cir. 1988).

      The record establishes that counsel engaged in numerous

discussions regarding plaintiff’s discovery requests. The Motion to

Compel simply asked that MCHS be required to provide substantive

responses to the outstanding discovery requests rather than rely on

its objections to those requests. MCHS contends that the filing of the

Motion to Compel was premature in light of the parties’ on-going

discussions. The Motion to Compel was granted merely because it was

unopposed and MCHS thereafter made substantive response to plaintiff’s

discovery requests.   Under all these circumstances, the Court

concludes that an award of expenses and fees even in connection with

the filing of the Motion to Compel is not justified.

      In short, plaintiff’s Motion for Sanctions, Doc. No. 50, is

without merit and it is therefore DENIED.



October 1, 2013                      s/ Norah McCann King
DATE                             NORAH McCANN KING
                                 UNITED STATES MAGISTRATE JUDGE




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